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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 METROPOLITAN TOWER LIFE                         §
 INSURANCE COMPANY,                              §
                                                 §
      Plaintiff,                                 §
                                                 §
 v.                                              §   CIVIL ACTION NO. 3:22-CV-2861-B
                                                 §
 KATHERINE MCARTHUR,                             §
 as Independent Executor of the Estate of        §
 CLAIRE LUVOICE MCARTHUR, III,                   §
 Deceased, and MARILYN MCARTHUR,                 §
                                                 §
      Defendants.                                §

                                             ORDER

         Before the Court is Defendant Marilyn McArthur’s counsel Michael J. Hoover and Aaron

Miller’s Second Unopposed Motion for Leave to Withdraw as Counsel of Record (Doc. 29). Because

this withdrawal would leave McArthur without counsel, the Court set a hearing on the Motion. See

Doc. 30, Order Setting Hearing. At the hearing, McArthur indicated that she consented to the

withdrawal. The Court therefore GRANTED the Motion (Doc. 29).

         McArthur indicated that she was unsure whether she would proceed pro se or obtain new

legal counsel. At this time, she does not have replacement counsel. Until new counsel files a notice

of appearance on her behalf, the Court presumes McArthur is proceeding pro se. McArthur is

therefore ORDERED to register with the Court’s Electronic Case Filing System, available at

https://www.txnd.uscourts.gov/file-registration, by Monday, August 28, 2023. If McArthur has any

issues, she may call the Court’s ECF Help Desk at either 214-753-2633 or 866-243-2866.

         If desired, McArthur remains free to seek new legal representation. However, McArthur is


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warned that her failure to timely comply with this Order may result in default judgment against her

without further notice.

         The Clerk is directed to mail a copy of this Order by certified mail, return receipt requested,

to:

                                        Marilyn McArthur
                                      3114 S. Las Cruces Street
                                        Deming, NM 88030

         SO ORDERED.

         SIGNED: August 14, 2023.


                                                ______________________________
                                                JANE J. BOYLE
                                                UNITED STATES DISTRICT JUDGE




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